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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

UNITED STATES OF AMERICA 3 Crim. No. 2:18-CR-101-12
vs.

SAMANTHA HOLLIS

 

ORDER
AND NOW, on the date of January A. 2023, upon consideration of Samantha
Hollis’ request, U.S. Pretrial Services SHALL retum Samantha Hollis’ passport to her forthwith.
The criminal Indictment charging Samantha Hollis was dismissed on November 29, 2022 and

Ms. Hollis has no further business before this Court.

 

 

HONORABLE GENE E.K. PRATTER

 
